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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11    LEILA CRUZ McCOY,                     ) Case No. SACV 21-00583-JAK (JPR)
                                            )
12                        Plaintiff,        )
                                            )        J U D G M E N T
13                  v.                      )
                                            )
14    U.S. DEP’T OF HOUSING &               )
      URBAN DEVELOPMENT et al.,             )
15                                          )
                          Defendants.       )
16                                          )

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18
           Pursuant      to   the   Order    Dismissing   Action   for   Failure   to
19
     Prosecute, IT IS HEREBY ADJUDGED that this action is dismissed.
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     DATED: 2FWREHU
22                                           JOHN A. KRONSTADT
                                             U.S. DISTRICT JUDGE
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